     Case 1:08-cr-00030-PB   Document 49   Filed 12/16/08   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                                 FOR
                    THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-30-04-PB

Danielle Rhodes, et al.


                               O R D E R

     Defendant Victor Caceres, through counsel, has moved to

continue the trial scheduled for January 6, 2008 in order to

finalize plea negotiations.     The government does not object to a

continuance of the trial date.

     Accordingly, to allow the parties additional time to arrange

for a hearing on the defendant’s request to plead guilty or

properly prepare for trial, the court will continue the trial

from January 6, 2009 to February 3, 2009.        In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(8)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best

interests of the public and the defendant in a speedy trial.

     The December 18, 2008 final pretrial conference is

cancelled.
      Case 1:08-cr-00030-PB   Document 49   Filed 12/16/08   Page 2 of 2




      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 15, 2008

cc:   James Gleason, Esq.
      Richard Monteith, Jr., Esq.
      Lawrence Vogelman, Esq.
      Neil Faigel, Esq.
      Mark Machera, Esq.
      Terry Ollila, Esq.
      United States Probation
      United States Marshal




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